869 F.2d 589
    Gus Genetti Hotel and Restaurant, Inc., t/a Genetti's BestWestern Motor Lodge, a/k/a Genetti's Motor Lodge, DinnerPlayhouse and Office Center, Hazle Builders, Joseph Miorelliand Company, Inc., Nielsen (Charles), Fisher (John W.),Santucci (Dominic, Katherine), t/a Katie's Cornerv.Stevens (Loretta Cundiff}) Personal Representative of Estateof Cundiff (Kenneth Roger), Hazle Township
    NO. 88-5639
    United States Court of Appeals,Third Circuit.
    JAN 23, 1989
    
      Appeal From:  M.D.Pa.,
      Kosik, J.
    
    
      1
      AFFIRMED.
    
    